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                        EXHIBIT 9
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                                                                     Page 1

 1                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
 2                                EASTERN DIVISION
 3
            ______________________________
 4
            IN RE: NATIONAL PRESCRIPTION                   MDL No. 2804
 5          OPIATE LITIGATION                              Case No. 17-md-2804
 6
            This document relates to:                      Judge Dan
 7                                                         Aaron Polster
 8          The County of Cuyahoga v. Purdue
            Pharma, L.P., et al.
 9          Case No. 17-OP-45005
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.
11          Case No. 18-OP-45132
12          The County of Summit, Ohio,
            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14          _______________________________
15
16
17
18                  Videotaped Deposition of Joseph Rannazzisi
19                              Washington, D.C.
20                               April 26, 2019
21                                  8:37 a.m.
22
23
24          Reported by: Bonnie L. Russo
25          Job No. 3301876

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                                                 Page 258                                                 Page 260
    1          BY MS. MAINIGI:                               1   we, the staff has explained to them exactly
    2      Q. From the counsel's office?                     2   what is expected of them. If I am not
    3      A. Counsel's office and my staff.                 3   mistaken, it was also in Southwood.
    4      Q. So what is a suspicious order?                 4      Q. Okay. So that is what I am trying
    5      A. Well, according to 1301.74(b), it's            5   to get to.
    6   an order of unusual size, frequency or               6          When the staff then or you explained
    7   substantially deviating from the normal              7   exactly what is expected, tell me what you said
    8   ordering pattern.                                    8   back then.
    9      Q. And so you said one of the things              9      A. Well, I wouldn't know.
   10   that were told or -- to the distributors, in        10          MR. BENNETT: Objection.
   11   addition to providing them the regulations at       11   Foundation.
   12   these meetings, you said they were told what a      12          You can answer.
   13   suspicious order is, right?                         13          BY MS. MAINIGI:
   14      A. They were.                                    14      Q. You wouldn't know?
   15          MS. SINGER: Objection. Misstates             15      A. I know this is a suspicious order.
   16   the witness's prior testimony.                      16   I -- what the staff would do is when they'd
   17          MR. BENNETT: Same objection.                 17   come in and say, well, we are confused about
   18          MR. UTTER: Same objection.                   18   something or I don't understand this, they
   19          Go ahead.                                    19   would sit down with them and they would say,
   20          THE WITNESS: They were provided              20   okay, explain why and explain what you're
   21   with the regulation. They discussed the             21   confused about or whatever it is, and then they
   22   regulation. They answered questions related to      22   would explain what the requirements are under
   23   the regulation, and then they showed specific       23   the regulations. So, you know, again, it's
   24   examples of what a suspicious order would look      24   pretty straightforward regulation, unusual
   25   like based on the transactions conducted by         25   size, unusual frequency.
                                                 Page 259                                                 Page 261
    1   each individual distributor.                         1      Q. So what is an order of unusual size?
    2          BY MS. MAINIGI:                               2      A. An order of unusual size is a
    3      Q. So to your understanding -- have you           3   pattern, we will say, a pharmacy that has been
    4   ever described, and I don't need to know any         4   ordering 5,000 tablets of Hydrocodone every
    5   names, but just generically, have you ever           5   month for the last three years and they all of
    6   described to a registrant what a suspicious          6   a sudden bump it up to 20,000, then 50,000,
    7   order is?                                            7   then a hundred thousand and so on. That's
    8      A. I have -- I'm sure that I have                 8   unusual size.
    9   spoken to registrants in registrant meetings,        9      Q. So it's unusual compared to their
   10   you know, in conferences where I have explained     10   past practice?
   11   what a suspicious order is.                         11      A. Yes. One of the factors.
   12      Q. How do you explain it?                        12      Q. What other factors?
   13      A. It's an order of unusual size,                13          MR. BENNETT: Objection. Scope.
   14   frequency or substantially deviating from the       14          THE WITNESS: They would be looking
   15   normal ordering pattern.                            15   at other pharmacies that they service in that
   16      Q. Those are essentially the exact               16   area, a pharmacy might have an unusually high
   17   words from the regulation, correct?                 17   purchase of a specific controlled substance in
   18      A. Yes.                                          18   an area where everybody else was fairly
   19      Q. And have you ever provided to a               19   consistent. That is unusual size as well.
   20   registrant any elaboration on that definition?      20      Q. Just a large size compared to other
   21      A. Definition seems pretty                       21   pharmacies in the area?
   22   straightforward.                                    22      A. Yes.
   23      Q. Have registrants asked you for an             23      Q. But that large size could perhaps be
   24   elaboration on that definition?                     24   explained by nonsuspicious reasons, correct?
   25      A. Yes, and we have explained -- or not          25      A. That's due diligence.

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                                                  Page 262                                                 Page 264
    1      Q. Anything else that defined unusual              1   or he's ordering carisoprodol, he never ordered
    2   size in your mind?                                    2   carisoprodol before, now all of a sudden he is
    3          MR. BENNETT: Objection. Scope.                 3   ordering carisoprodol. That is an ordering
    4   Objection. Incomplete hypothetical.                   4   pattern deviation.
    5          THE WITNESS: I'm sure there are                5      Q. And the phraseology is deviating
    6   other things but right now at this current            6   substantially so what -- tell me what
    7   moment, I don't have them right off the top of        7   substantially means.
    8   my head.                                              8          MR. BENNETT: Objection. Scope.
    9          MS. SINGER: Is this a good time to             9   Objection. Incomplete hypothetical.
   10   take a break or sometime soon?                       10          THE WITNESS: Substantially means
   11          BY MS. MAINIGI:                               11   just that. It was -- it is something that
   12      Q. Can you keep going for a few more              12   triggers an inquiry because it's not something
   13   minutes, Mr. Rannazzisi?                             13   that has happened in the past. It is not
   14      A. Yes, about five more minutes.                  14   something that was done in the past.
   15      Q. Okay. Let's go a couple more                   15          BY MS. MAINIGI:
   16   minutes.                                             16      Q. Okay. And unusual frequency, what
   17          What is an order deviating                    17   does that mean?
   18   substantially from a normal pattern?                 18          MR. BENNETT: Objection. Scope.
   19      A. A pharmacy --                                  19          THE WITNESS: A person orders
   20          MR. BENNETT: Objection. Scope.                20   Hydrocodone once a week and all of a sudden, he
   21          You can answer.                               21   is ordering it once a day.
   22          THE WITNESS: A pharmacy that is               22          BY MS. MAINIGI:
   23   ordering Hydrocodone on a regular basis and all      23      Q. And doesn't that overlap with order
   24   of a sudden, he starts ordering large                24   deviating substantially from a normal pattern?
   25   quantities of hydromorphone for no apparent          25      A. No. It's a frequency. It's not a
                                                  Page 263                                                 Page 265
    1   reason, and there is no documentation why, and        1   pattern. A pattern is drugs and types of drugs
    2   that might exceed the amount of Hydrocodone.          2   they are ordering, a frequency is just that,
    3   That's -- he never ordered it before and now he       3   the frequency of purchases. Quantity is the
    4   is ordering quantities that are inconsistent          4   quantity of purchases.
    5   with what he has previously done.                     5      Q. Okay.
    6          BY MS. MAINIGI:                                6          MS. MAINIGI: Should we go ahead and
    7      Q. That's kind of the same as unusual              7   take a break.
    8   size, right?                                          8          THE VIDEOGRAPHER: We are going off
    9      A. No.                                             9   the record. This is the end of Media Unit No.
   10      Q. It's different?                                10   5. The time is 2:59.
   11          MR. BENNETT: Objection.                       11          (A short recess was taken.)
   12          BY MS. MAINIGI:                               12          THE VIDEOGRAPHER: We are going back
   13      Q. How are those two different?                   13   on the record. This is the start of Media Unit
   14      A. Well, it's a pattern. You've                   14   No. 6. The time is 3:13.
   15   established a pattern of purchasing, and now         15          You may proceed, Counsel.
   16   all of a sudden, you are inserting a new drug        16          MS. MAINIGI: Counsel for the
   17   in that pattern of purchasing. It doesn't have       17   government, I just wanted to address some of
   18   to be Hydrocodone or hydromorphone. It could         18   the scope objections that you made, which I do
   19   be alprazolam, it could be clonazepam, it could      19   think are improper.
   20   be diazepam, it could be any pattern that --         20          In your authorization letter of
   21   anything that is different from your normal          21   December 10, 2018, you authorize, among other
   22   ordering pattern, so if all of a sudden, he          22   areas for Mr. Rannazzisi, your personal
   23   starts -- or the person starts ordering 500          23   recollection of your communications with DEA
   24   count bottles of alprazolam 2 milligrams, well,      24   registrants about what makes an order
   25   that is not within the normal ordering pattern,      25   suspicious under 21 C.F.R. Section 1301.74,

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                                                   Page 270                                                  Page 272
    1   description. Can you help me figure out                1   why the term pattern and the term frequency
    2   whether I should report this as a suspicious           2   were different.
    3   order?                                                 3          Do you recall that?
    4          MS. SINGER: Objection.                          4      A. Yes.
    5   Hypothetical. Calls for speculation.                   5          MS. SINGER: Objection. Misstates
    6          MR. UTTER: Same objections.                     6   the witness's prior testimony.
    7          Go ahead.                                       7          THE WITNESS: Again, I explained to
    8          THE WITNESS: I don't know, that's               8   you what an unusual size pattern substantially
    9   never been presented to me before, so I would          9   deviating from the norm or -- and frequency,
   10   be -- I would be guessing what the answer was.        10   unusual frequency.
   11          BY MS. MAINIGI:                                11          BY MS. MAINIGI:
   12      Q. You are not aware of whether, as the            12      Q. Do you recall, though, I asked you a
   13   head of the anti-diversion control, that              13   question about, could pattern and frequency be
   14   registrants would call seeking elaboration on         14   the same?
   15   whether what they had in front of them was a          15      A. I don't recall that exact question.
   16   suspicious order or not to be reported?               16      Q. Okay. Well, do you recall me
   17          MS. SINGER: Objection.                         17   walking through what normal pattern meant to
   18   Argumentative.                                        18   you and what unusual frequency meant to you?
   19          MR. BENNETT: Objection. Asked and              19      A. I recall me giving you a definition,
   20   answered.                                             20   my definition of what normal pattern and
   21          THE WITNESS: In my role as the head            21   unusual frequency is.
   22   of the Office of Diversion Control, I have a          22      Q. And then do you recall me following
   23   lot of different things going on at once, and         23   -- do you recall me following up and saying,
   24   I'm sure that if there was a question that they       24   well, couldn't your definition of frequency or
   25   couldn't answer, they would pop their head into       25   unusual frequency be the same as unusual
                                                   Page 271                                                  Page 273
    1   my office and say this is what came about, what        1   pattern?
    2   do you think. But no, I don't recall that ever         2       A. Again, my answer would be depending
    3   happening before. So they seemed to be able to         3   on the facts and the suspicious order that had
    4   handle it.                                             4   come in, the transaction that had come in, the
    5          BY MS. MAINIGI:                                 5   request for the transaction that had come in.
    6      Q. You don't know what they might have              6   I would have to look at each individual one and
    7   told a registrant about what defines a                 7   see if there is an overlap or not. But I would
    8   suspicious order, correct?                             8   have to look at the transaction and the
    9          MR. BENNETT: Objection.                         9   request.
   10   Foundation.                                           10       Q. So sometimes, there could be an
   11          MS. SINGER: Objection. Foundation.             11   overlap between unusual frequency and unusual
   12          THE WITNESS: The liaison and policy            12   pattern and sometimes, there wouldn't be; is
   13   section, as well as the other sections are            13   that right?
   14   trained to provide answers that were in               14           MS. SINGER: Objection. Misstates
   15   compliance with the regulations in the                15   the witness's prior testimony.
   16   Controlled Substances Act.                            16           MR. BENNETT: Objection. Incomplete
   17          BY MS. MAINIGI:                                17   hypothetical. Calls for speculation.
   18      Q. So, for example, you gave -- I asked            18           MR. UTTER: Same objections.
   19   you before we broke whether pattern and               19           Go ahead.
   20   frequency, whether those two terms could              20           THE WITNESS: Each individual
   21   overlap, that they could encompass the same           21   suspicious order, if -- if it rises to a
   22   type of order, correct?                               22   suspicious order, it could meet criteria. But
   23      A. Yes.                                            23   it -- again, it depends on the facts of that
   24      Q. And you told me, no, that they are              24   order and that transaction, the -- the -- the
   25   not intended to overlap and you explained to me       25   pharmacy that's making that purchase.

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                                                   Page 274                                                Page 276
    1           But in the end, it's up to the           1         maintaining effective controls against
    2   distributor to decide whether they're going to   2         diversion.
    3   fill the order or not. It's a business           3                BY MS. MAINIGI:
    4   decision.                                        4            Q. How does the DEA then go back after
    5           BY MS. MAINIGI:                          5         the fact and determine that something was
    6      Q. It's a business decision as to             6         suspicious?
    7   whether something is a suspicious order as       7                MS. SINGER: Objection. Lacks
    8   well, correct?                                   8         foundation.
    9      A. Yes.                                       9                MR. BENNETT: Objection. Scope.
   10      Q. And it may be that one business           10         Also objection.
   11   faced with a particular order makes a different 11                You are not authorized to disclose
   12   decision on the exact same order than another 12           information regarding any specific DEA
   13   business, correct?                              13         investigations or activities or any information
   14           MS. SINGER: Objection.                  14         that would reveal the internal deliberative
   15   Hypothetical. And calls for the witness to      15         process of the DEA.
   16   speculate.                                      16                To the extent that you can answer
   17           MR. BENNETT: And objection. Scope.17               the question without disclosing those, you may
   18           THE WITNESS: It depends on the type 18             answer the question.
   19   of due diligence they're doing on their         19                THE WITNESS: I can't. I can't
   20   customers; whether they know their customers 20            answer it that way.
   21   and what their customers' normal ordering       21                BY MS. MAINIGI:
   22   patterns are; where is their customer situated; 22            Q. You can't tell me how the DEA would
   23   is the customer close to a hospital; is the     23         then go back and figure out whether something
   24   customer close to -- is in a rural area.        24         is suspicious or not?
   25           There's so many dynamics that the       25            A. It's part of the --
                                                   Page 275                                                Page 277
    1   drug enforcement administration doesn't have.          1          MR. BENNETT: I'll say --
    2   Only the business, the distributor, the                2          THE WITNESS: -- investigative
    3   registrant has that information.                       3   process.
    4          So if you're calling the Drug                   4          MR. BENNETT: And I will say same
    5   Enforcement Administration to -- to -- to get          5   instruction regarding the scope of your
    6   an okay to release an order, that's not going          6   authorization.
    7   happen. Because the Drug Enforcement                   7          BY MS. MAINIGI:
    8   Administration does not know your customer.            8      Q. So let me come back to -- to this --
    9   You know the customer.                                 9   so you gave me your elaboration and further
   10          BY MS. MAINIGI:                                10   definition of some of the terminology in 21
   11      Q. Only the business, at that point in             11   C.F.R. 1301.74, right?
   12   time, looking at the information before it as         12      A. Yes.
   13   well as its due diligence, can make the               13      Q. But your elaboration, your further
   14   business decision about whether something is a        14   definition of unusual size, pattern, frequency,
   15   suspicious order, correct?                            15   that's not in the regulation itself, right?
   16          MS. SINGER: Objection. Misstates               16          MR. BENNETT: Objection.
   17   the witness's prior testimony.                        17          THE WITNESS: No.
   18          MR. BENNETT: And objection. Scope.             18          Oh.
   19          THE WITNESS: Based on the facts of             19          MR. BENNETT: Form.
   20   the particular order and the customer, they are       20          Go ahead.
   21   required to make a decision on whether to file        21          THE WITNESS: No, it's not in the
   22   the suspicious order and not ship or ship.            22   regulation.
   23          If they ship the order and it's not            23          BY MS. MAINIGI:
   24   been deemed to be -- their -- their suspicions        24      Q. And the elaboration that you
   25   have not been resolved, then they're not              25   provided me on those terms -- unusual size,
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    1   pattern, and frequency -- that elaboration is        1   pattern of unusual size.
    2   not in any sort of written guidance, is it, to       2      Q. I thought pattern and size were two
    3   your knowledge?                                      3   different barometers.
    4       A. With the exception of the three               4      A. It -- they are. But what I'm
    5   letters that discussed suspicious order              5   talking about, unusual size when you have a --
    6   monitoring and the fact that we sat down with        6   a pharmacy that's been ordering a certain
    7   each individual distributor and talked about         7   amount for a long period of time, and then all
    8   it.                                                  8   of a sudden they bump up their purchases for no
    9          It was discussed in the Southwood             9   reason.
   10   decision. Other than that, no.                      10          They haven't changed their area.
   11       Q. Okay. Let's go through those.                11   They haven't moved near a hospital. And then
   12       A. Okay.                                        12   they continue to increase without anybody
   13       Q. Is it fair to say that the way you           13   filing a suspicious order, without anybody
   14   defined or further defined unusual size for me      14   going out and doing due diligence.
   15   might be different than the way your deputy at      15          Okay. That -- that's -- that's an
   16   the time might have defined unusual size to a       16   unusual size that should be followed up.
   17   registrant?                                         17      Q. And do you think your definition of
   18          MS. SINGER: Objection. Calls for             18   unusual size would be the same as Mr. Wright's
   19   speculation.                                        19   definition of unusual size?
   20          MR. BENNETT: Same objection.                 20      A. I don't --
   21          MR. UTTER: Objection.                        21          MS. SINGER: Objection. Calls for
   22          Go ahead.                                    22   speculation.
   23          THE WITNESS: I don't know exactly            23          MR. BENNETT: Objection. Form.
   24   what my deputy or any of the other people would     24   Objection. Scope.
   25   use as an example. I used -- I gave you             25          Go ahead.
                                                 Page 279                                                  Page 281
    1   examples of what my -- my position of what an 1                  THE WITNESS: I don't know what Mr.
    2   unusual size is or an unusual frequency.         2       Wright's definition is on unusual size. But
    3          Deposition is based on, you know,         3       it's pretty straightforward. Unusual size is
    4   my -- my own personal knowledge of how this 4            just that, an unusual size.
    5   works plus other -- plus previous cases that     5               BY MS. MAINIGI:
    6   have been made public.                           6           Q. Why did your division never write
    7          BY MS. MAINIGI:                           7       down the further elaboration of the terms
    8      Q. Sitting here today, you can't tell         8       "unusual size," "pattern" or "frequency" --
    9   me that your definition of unusual size is the   9               MS. SINGER: Objection. Found --
   10   same as Michael Mapes's definition of unusual 10                 BY MS. MAINIGI:
   11   size, right?                                    11           Q. -- for distributors?
   12          MS. SINGER: Objection. Calls for         12               MS. SINGER: Sorry.
   13   speculation. Argumentative.                     13               Objection. Foundation. And
   14          THE WITNESS: I don't know --             14       objection. Scope.
   15          MR. BENNETT: Objection. Form.            15               MR. BENNETT: And I would object
   16   Objection. Scope.                               16       that it misstates prior testimony.
   17          THE WITNESS: I don't know what Mr. 17                     And also I would inform the witness
   18   Mapes's definition of unusual size is. But I'm 18        that you are not authorized to disclose the
   19   pretty sure it's pretty consistent with what my 19       internal deliberative process of DEA or
   20   definition is.                                  20       information that would disclose nonpublic
   21          BY MS. MAINIGI:                          21       recommendations you made or you're aware of
   22      Q. Have you guys compared notes on           22       concerning any proposed agency action.
   23   that?                                           23               To the extent that you can answer
   24      A. No. But based on the previous cases 24             the question without disclosing that, you may
   25   we've done, it's pretty -- pretty easy to see a 25       answer.
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    1          THE WITNESS: In those limitations,             1   meetings, correct?
    2   I can't answer that question.                         2         MS. SINGER: Objection. Asked and
    3          BY MS. MAINIGI:                                3   answered. Lack of foundation. Calls for
    4      Q. Well, let me ask it this way: Has               4   speculation.
    5   DEA provided in written form your explanation         5         THE WITNESS: I don't know exactly
    6   and elaboration of what a suspicious order is         6   what they said. But I know they followed the
    7   to registrants?                                       7   regulation, which is unusual size, frequency,
    8      A. Not as far as I'm aware. But again,             8   substantially deviating from the normal
    9   I gave you an explanation my opinion of what a        9   ordering pattern.
   10   suspicious order of unusual size, frequency or       10         BY MS. MAINIGI:
   11   deviating substantially from the normal              11      Q. You mentioned the Southwood decision
   12   ordering pattern. That was an -- examples and        12   as being perhaps instructive to the registrant
   13   a nonexhaustive list of what, in my opinion,         13   community about what a suspicious order was,
   14   those are.                                           14   correct?
   15          But in the end, only the distributor          15      A. Yes.
   16   could make a decision about what a suspicious        16      Q. How was it instructive?
   17   order of unusual size is.                            17      A. It explained what the
   18      Q. And, in fact, under your leadership,           18   responsibilities were for suspicious order
   19   you felt so strongly, Mr. Rannazzisi, that only      19   monitoring. It explained what the requirements
   20   a distributor could decide what an unusual size      20   were to maintain effective controls against
   21   was or what a suspicious order was that you          21   diversion. It explained that, you know, using
   22   essentially told your department not to provide      22   an example of a company that actually was
   23   explanations and elaborations to registrants,        23   involved in this type of activity, what they
   24   correct?                                             24   did and what the results of what they did were.
   25          MS. SINGER: Objection.                        25      Q. Now, Southwood was an Internet
                                                  Page 283                                                  Page 285
    1   Argumentative. Lack of foundation. Compound           1   pharmacy?
    2   question.                                             2      A. Southwood was a manufacturer -- a
    3          MR. BENNETT: I join those                      3   repackager, I guess they would be, who supplied
    4   objections.                                           4   Internet, among other types of registrants.
    5          And I also indicate that the witness           5      Q. So they were a supplier to an
    6   is not authorized to disclose any nonpublic           6   Internet pharmacy?
    7   recommendations you made or you're aware of           7      A. They were a supplier to several
    8   regarding any proposed agency action or reveal        8   different registrant classes.
    9   the internal deliberative process within the          9      Q. And so what are some of the specific
   10   Department of Justice or the DEA.                    10   elaborations of what goes into a suspicious
   11          MR. UTTER: Go ahead.                          11   order monitoring system that come from
   12          THE WITNESS: I've --                          12   Southwood?
   13          MR. BENNETT: Otherwise you can                13      A. I don't have the decision. And I
   14   answer.                                              14   read that decision a long time ago. But -- but
   15          THE WITNESS: Yeah. I've never                 15   that's why the decision was included in the
   16   advised any of my people, while I was the head       16   December of 2007 letter to the registrant.
   17   of the Office of Diversion Control, not to           17      Q. And if I go to the Southwood
   18   elaborate. And that wouldn't come from me            18   decision, I -- I would learn more about what
   19   anyway. It could come from counsel's office.         19   the DEA wants to see in the suspicious order
   20          BY MS. MAINIGI:                               20   monitoring system?
   21      Q. And sitting here today, you don't              21      A. I think --
   22   know, Mr. Rannazzisi, when Mr. Mapes or              22          MS. SINGER: Objection. Calls for
   23   Mr. Wright were asked to elaborate on what they      23   speculation.
   24   thought a suspicious order was, what they told       24          THE WITNESS: I don't --
   25   order registrants at distributor initiative          25          MR. BENNETT: Objection. Form.

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                                                 Page 314                                                 Page 316
    1          BY MS. MAINIGI:                          1        to registrants as to what was required to be in
    2      Q. Are they guidance in the way that I       2        a suspicious order monitoring system, correct?
    3   originally posed the question to you, meaning 3                  MS. SINGER: Objection. Vague.
    4   you are familiar with the concept of federal    4                THE WITNESS: The regulation stands
    5   agencies issuing guidance?                      5        on its own. I believe the regulation says, the
    6          MS. SINGER: Objection. Compound          6        registrant shall design and operate a system
    7   question.                                       7        that identifies and reports suspicious orders.
    8          MR. BENNETT: Objection. Vague.           8                Again, it's a business decision
    9          MS. SINGER: Calls for a legal            9        based on what the registrant's needs are and
   10   conclusion.                                    10        the Drug Enforcement Administration does not
   11          THE WITNESS: Are you talking about 11             tell a registrant what that specific system
   12   notice and comment?                            12        should look like.
   13          BY MS. MAINIGI:                         13                MR. BENNETT: Counsel, we -- it is
   14      Q. Does guidance go through notice and 14             after 4:00 and I know we are planning on ending
   15   comment?                                       15        right around 5. Would this be an appropriate
   16      A. Rulemaking regulations go through        16        time to take our last break for the day?
   17   notice and comment.                            17                MS. MAINIGI: Sure. We can take a
   18      Q. Guidance doesn't go through notice       18        break.
   19   and comment, right?                            19                THE VIDEOGRAPHER: We are going off
   20      A. No.                                      20        the record. This is the end of Media Unit No.
   21      Q. And, in fact, was it around this         21        6. The time is 4:05.
   22   time that President Bush issued an executive 22                  (A short recess was taken.)
   23   order that essentially stated that guidance is 23                THE VIDEOGRAPHER: We are going back
   24   not the same as law?                           24        on the record. This is the start of Media Unit
   25          MS. SINGER: Objection. Foundation. 25             No. 7. The time is 4:18.
                                                 Page 315                                                 Page 317
    1   Calls for a legal conclusion. Scope.                 1          You may proceed, Counsel.
    2          MR. BENNETT: I join those                     2          BY MS. MAINIGI:
    3   objections.                                          3      Q. Mr. Rannazzisi, I am just looking
    4          MR. UTTER: Same objections.                   4   for a yes or no on the following question:
    5          Go ahead.                                     5   Does DEA have internal guidance as to what is a
    6          THE WITNESS: I don't know about               6   suspicious order?
    7   that particular -- I don't know about what           7          MR. BENNETT: Objection. Scope.
    8   President Bush put out, but I can tell you that      8          You can answer the question yes or
    9   there is nothing in these documents that             9   no only.
   10   changes what the regulation and the statute         10          THE WITNESS: No.
   11   said, so if there is nothing in the document        11          BY MS. MAINIGI:
   12   that changes what the regulation and the            12      Q. And for clarity, let me focus you on
   13   statute is, then, you know, it's just a letter      13   time periods with that same question.
   14   informing the registrant community of what          14          Let's say from the 2005 through the
   15   their obligations are.                              15   time you left DEA in 2016, that is the time
   16          BY MS. MAINIGI:                              16   period, in that time period of 2005 to 2016,
   17      Q. With respect to coming back to                17   yes or no, did DEA have internal guidance as to
   18   suspicious order monitoring systems, it was the     18   what constitutes a suspicious order?
   19   obligation of the registrant to essentially         19          MR. BENNETT: Objection. Scope.
   20   come up with their own suspicious order             20          You can answer that question yes or
   21   monitoring system, correct?                         21   no only.
   22      A. Yes, to design and operate the                22          THE WITNESS: No.
   23   system.                                             23          BY MS. MAINIGI:
   24      Q. And there was not any sort of                 24      Q. In the time period 2005 to 2016, yes
   25   guidance or checklist that were provided by DEA     25   or no, did DEA have internal guidance as to

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                                                    Page 318                                                  Page 320
     1   what constituted a suspicious order monitoring         1      Q. So you, yourself, have never even
     2   system that complied with regulations?                 2   inspected a suspicious order monitoring system,
     3          MR. BENNETT: Objection. Scope.                  3   fair?
     4          You can answer that question yes or             4          MR. BENNETT: Objection. Misstates
     5   no only.                                               5   testimony. Objection. Scope.
     6          THE WITNESS: I don't know about                 6          THE WITNESS: I have never gone on
     7   2016, but for 2005 to 2015, no.                        7   site and reviewed a suspicious order monitoring
     8          BY MS. MAINIGI:                                 8   system, no.
     9      Q. DEA expected registrants to update               9          BY MS. MAINIGI:
    10   their suspicious order monitoring systems to          10      Q. Have you ever viewed one on paper?
    11   adopt to changing environments, correct?              11          MR. SMITH: Objection. Scope.
    12          MR. BENNETT: Objection. Scope.                 12          THE WITNESS: I may have looked
    13   Objection. Vague.                                     13   years ago at the framework of a suspicious
    14          MR. UTTER: Go ahead.                           14   order monitoring system on paper.
    15          THE WITNESS: DEA expected the                  15          BY MS. MAINIGI:
    16   registrant, the distributor registrants and the       16      Q. Do you have an understanding of what
    17   manufacturing registrants to design and operate       17   would separate an acceptable compliance
    18   a system that will identify and report                18   suspicious order monitoring system from one
    19   suspicious orders.                                    19   that was not compliant with regulations?
    20          BY MS. MAINIGI:                                20          MS. SINGER: Objection. Vague.
    21      Q. And did DEA expect that a registrant            21   Foundation. Scope.
    22   would update their suspicious order monitoring        22          MR. BENNETT: Join the scope
    23   system to adopt to a changing environment?            23   objection.
    24          MS. SINGER: Objection. Vague.                  24          MR. UTTER: Go ahead.
    25          MR. BENNETT: Objection. Vague.                 25          THE WITNESS: Again, the suspicious
                                                    Page 319                                                  Page 321
     1   Objection. Scope.                               1          order monitoring system has to -- is designed
     2          MR. UTTER: Objection. Asked and          2          by the distributor -- the registrant, and
     3   answered.                                       3          because it's designed by the registrant, you
     4          You can answer again.                    4          know, it's their system to design. So I -- you
     5          THE WITNESS: Again, the answer is        5          know, again, I'm not sure -- it's their system
     6   that we expect them to design and operate a     6          to design under the regs.
     7   system that identifies suspicious orders.       7                 BY MS. MAINIGI:
     8          BY MS. MAINIGI:                          8             Q. So how does a registrant know that
     9      Q. Would a system that identifies            9          their system is enough that its compliant with
    10   suspicious orders in 2002, in your mind, be an 10          the regulations?
    11   acceptable system in 2010?                     11                 MS. SINGER: Objection. Calls for
    12          MS. SINGER: Objection. Calls for        12          speculation.
    13   speculation.                                   13                 MR. BENNETT: Objection. Scope.
    14          MR. BENNETT: Objection. Calls for 14                       THE WITNESS: Because the regs tell
    15   speculation. Incomplete hypothetical and       15          them that they must design and operate a system
    16   scope.                                         16          that identifies suspicious orders and they have
    17          MR. UTTER: Go ahead.                    17          to report. How they create that system is a
    18          THE WITNESS: I don't know because I 18              business decision and as long as it identifies
    19   didn't -- I have never reviewed a 2002         19          and reports suspicious orders, then -- and they
    20   suspicious order monitoring system in 2002 or 20           are comfortable with that system, then they
    21   2015. I mean, I don't know. I expect that      21          have a system.
    22   they will design and operate a system that     22                 BY MS. MAINIGI:
    23   reports, identifies and reports suspicious     23             Q. So there is more than one way to
    24   orders.                                        24          design a compliant suspicious order monitoring
    25          BY MS. MAINIGI:                         25          system?

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                                                   Page 322                                                 Page 324
     1          MR. BENNETT: Objection. Scope.                 1          MR. UTTER: Object to speculation.
     2          MR. UTTER: Asked and answered for              2          Go ahead.
     3   the third time.                                       3          THE WITNESS: Again, without seeing
     4          Go ahead.                                      4   the systems, is it possible, I'm sure anything
     5          THE WITNESS: I don't -- I don't                5   is possible, but in the end, it falls back to
     6   know what the different ways of creating a            6   whether the system can identify -- is designed
     7   system is. Again, I can only go by what the           7   to identify and report suspicious orders.
     8   regulation says and it is up to the registrant        8          BY MS. MAINIGI:
     9   to design and operate a system.                       9      Q. Well, without naming any company
    10          BY MS. MAINIGI:                               10   names, Mr. Rannazzisi, as head of diversion
    11      Q. Was there any single feature that              11   control for so many years, were you somehow
    12   made a system compliant?                             12   under the impression that every company had an
    13      A. Yes, that they identify suspicious             13   identical suspicious order monitoring system?
    14   orders or unusual size, frequency or deviating       14          MS. SINGER: Objection. Foundation.
    15   substantially from a normal ordering pattern.        15   Vague. Scope.
    16      Q. Could two companies have different             16          MR. BENNETT: I'll join the scope
    17   suspicious order monitoring systems and they         17   objection and also objection. Argumentative.
    18   were both compliant?                                 18          MR. UTTER: Go ahead.
    19          MS. SINGER: Objection. Calls for              19          THE WITNESS: I never really thought
    20   the witness to speculate.                            20   about it. I just knew that they were supposed
    21          MR. BENNETT: Objection. Scope.                21   to design and operate a system that identifies
    22          THE WITNESS: Again, I don't -- I              22   suspicious orders. I knew what a suspicious
    23   don't know. It's up to them to decide what           23   order was by definition, and I expected that
    24   their systems are and without seeing or knowing      24   they would be the ones to create that system.
    25   about -- knowing about each individual system,       25          BY MS. MAINIGI:
                                                   Page 323                                                 Page 325
     1   I don't know. I mean, one system could be -- 1               Q. So it's likely then, while you were
     2   could be identifying suspicious orders and      2         head of diversion control, that there were
     3   another might not identify suspicious orders    3         companies operating in compliance that had
     4   appropriately.                                  4         different suspicious order monitoring systems,
     5          BY MS. MAINIGI:                          5         right?
     6      Q. Well, what would you be looking for       6                MS. SINGER: Objection. Calls for
     7   between those two systems, Mr. Rannazzisi?      7         speculation beyond this witness's experience.
     8      A. What the reg says. They have to           8                MR. BENNETT: Objection. Scope.
     9   identify suspicious orders.                     9                MR. UTTER: Objection to whether
    10      Q. So if both systems are identifying       10         they were in compliance.
    11   suspicious orders, companies are reporting     11                But go ahead, you can answer.
    12   suspicious orders, is it possible that two     12                THE WITNESS: Could you repeat that
    13   companies that have employed two different 13             one question, please.
    14   systems for suspicious order monitoring could 14                 BY MS. MAINIGI:
    15   both be compliant?                             15            Q. Sure. So it's likely then, while
    16          MS. SINGER: Objection. Calls for        16         you were head of diversion control, that there
    17   speculation. The question has been asked and 17           were companies operating in compliance that had
    18   answered.                                      18         different suspicious order monitoring systems,
    19          MR. BENNETT: Objection. Scope.          19         correct?
    20          May I have a continuing objection to    20                MS. SINGER: Same objections.
    21   -- based on scope to all your questions about 21                 MR. UTTER: Same objection.
    22   suspicious order monitoring systems so I don't 22                Go ahead.
    23   have to keep objecting?                        23                THE WITNESS: In compliance with
    24          MS. MAINIGI: No.                        24         what? In compliance with the suspicious order
    25          MR. BENNETT: Objection.                 25         monitoring reg?

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                                                  Page 334                                                  Page 336
     1   were no guidelines, right?                           1   regulations to provide greater specificity?
     2         MS. SINGER: Objection.                         2         MS. SINGER: Objection. Lack of
     3         THE WITNESS: I'm not sure.                     3   foundation.
     4         BY MS. MAINIGI:                                4         BY MS. MAINIGI:
     5      Q. There were not any guidelines on               5      Q. Yes or no.
     6   what made up a successful compliant suspicious       6         MR. BENNETT: Objection. Scope.
     7   order monitoring system, correct?                    7         You are not authorized to disclose
     8         MR. BENNETT: Objection. Vague.                 8   any information that would reveal the internal
     9         THE WITNESS: There didn't need to              9   deliberative process within DEA, information
    10   be guidelines because that was the whole idea       10   that would reveal nonpublic recommendations you
    11   behind the regulation, to operate, design and       11   made or you're aware of concerning any proposed
    12   operate a system to identify and report             12   agency action.
    13   suspicious orders.                                  13         To the extent that you are aware of
    14         BY MS. MAINIGI:                               14   any public recommendations concerning any
    15      Q. Now, that regulation came into place          15   proposed agency action, you may answer. To the
    16   in 1971, right?                                     16   extent if there is any nonpublic, you may not
    17      A. 40-plus years, yes.                           17   answer.
    18      Q. Were there opioids in 1971?                   18         MR. UTTER: Go ahead.
    19         MR. BENNETT: Objection. Scope.                19         THE WITNESS: I -- no.
    20   Lack of foundation.                                 20         BY MS. MAINIGI:
    21         You can answer.                               21      Q. No, what?
    22         MR. UTTER: Go ahead.                          22      A. You asked me if I knew of any
    23         THE WITNESS: If you're defining               23   movement within DEA to change the suspicious
    24   opioids as the semisynthetic or synthetic           24   order monitoring regulation and the answer is
    25   versions, yes, there were opioids.                  25   no.
                                                  Page 335                                                  Page 337
     1          BY MS. MAINIGI:                               1      Q. Okay. Now, in one of your prior
     2      Q. There were opioids in 1971?                    2   answers, you referenced other components
     3      A. Yes.                                           3   including counsel's office.
     4      Q. What were they?                                4          Without detailing for me or telling
     5          MR. BENNETT: Objection. Scope.                5   me at all about any conversations that involved
     6          THE WITNESS: Codeine, morphine,               6   counsel's office, did you mean by that that if
     7   hydromorphone, Hydrocodone, but not in the           7   someone asked, is my suspicious order
     8   tablet form, opium, Methadone, quite a few.          8   monitoring system compliant, that you would
     9          BY MS. MAINIGI:                               9   refer them to counsel's office for an answer?
    10      Q. So no need for additional guidelines          10          MS. SINGER: Objection. Calls for
    11   because the regulation and the wording of the       11   speculation.
    12   regulation stood the test of time, right?           12          MR. BENNETT: Objection. Misstates
    13          MS. SINGER: Objection. Asked and             13   testimony.
    14   answered. Argumentative.                            14          MR. UTTER: Go ahead.
    15          MR. BENNETT: Objection.                      15          THE WITNESS: Counsel's office was
    16   Argumentative. Objection. Scope.                    16   always consulted on matters of suspicious
    17          MR. UTTER: Go ahead.                         17   orders and other matters like that. But again,
    18          THE WITNESS: Again, the regulation           18   when I am talking about other components, you
    19   is the regulation. That's what we followed,         19   have an investigative team and pharmaceutical
    20   yes.                                                20   investigations. You have an investigative
    21          BY MS. MAINIGI:                              21   regulatory team and regulatory investigations.
    22      Q. Was there a point in time either              22   You have liaison and policy, counsel's office,
    23   before -- right before your departure or right      23   and the executives that worked in the front
    24   after your departure, that you understood that      24   office, so all of them generally had some type
    25   there was a movement within DEA to amend the        25   of input.

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                                                   Page 338                                                 Page 340
     1          BY MS. MAINIGI:                           1               BY MS. MAINIGI:
     2      Q. I don't think that answered my             2           Q. To your knowledge, did any of those
     3   question.                                        3        departments keep track of the questions that
     4          Yes or no, did -- to your knowledge,      4        they were asked?
     5   did counsel's office or any other components of 5                MS. SINGER: Objection. Scope.
     6   DEA approve suspicious order monitoring          6               THE WITNESS: I'm not sure.
     7   systems?                                         7               BY MS. MAINIGI:
     8      A. Nobody approves suspicious order           8           Q. To your knowledge, did any of those
     9   monitoring systems. I think the letters were     9        departments have internal guidance on what they
    10   perfectly -- were very clear in the letters     10        could or could not say as to suspicious order
    11   that DEA does not approve a suspicious order 11           monitoring systems?
    12   monitoring system.                              12           A. The guidance is the regulations. We
    13      Q. Could one call the counsel's office       13        don't vary far from the regulations.
    14   and get some sort of indication that particular 14           Q. After the December 27, 2007 letter,
    15   components of a suspicious order monitoring 15            which went to all registrants, did you send any
    16   system were compliant with regulations or not 16          more letters to registrants related to
    17   compliant with regulations?                     17        suspicious orders or suspicious order
    18          MS. SINGER: Objection.                   18        monitoring systems?
    19          MR. BENNETT: Objection. Vague.           19               MR. BENNETT: Objection. Vague.
    20          To the extent that the question          20        Compound.
    21   calls for circumstances where DEA executives 21                  MR. UTTER: Go ahead.
    22   and officials would seek advice of counsel,     22               THE WITNESS: I don't believe any
    23   you're instructed you're not authorized to      23        letters went out after that.
    24   answer.                                         24               BY MS. MAINIGI:
    25          To the extent the question calls for     25           Q. Was there any communication with the
                                                   Page 339                                                 Page 341
     1   third parties outside of DEA to call counsel's        1   industry, whether it's distributors,
     2   office, you may answer.                               2   manufacturers or pharmacies, in 2008, for
     3          MS. SINGER: Again, speculate --                3   example, as to what the DEA was looking for
     4   calls for speculation.                                4   when it came to suspicious order monitoring and
     5          MR. UTTER: Go ahead.                           5   reporting?
     6          THE WITNESS: So the question is                6          MS. SINGER: Objection. Vague.
     7   whether outside individuals could call                7          MR. UTTER: You can answer again.
     8   counsel's office?                                     8          THE WITNESS: There were conferences
     9          BY MS. MAINIGI:                                9   where we explained suspicious order monitoring.
    10      Q. Or any other component or department           10   There were conferences where we explained what
    11   of DEA and get advice as to particular               11   effective controls against diversion was. And
    12   components of their suspicious order monitoring      12   those conferences were attended by
    13   system.                                              13   manufacturers and distributors.
    14          MR. BENNETT: Objection. Scope.                14          I think there were -- they -- they
    15          Not authorized to disclose any                15   happened every couple of years, every two years
    16   attorney-client privileged communications.           16   or so.
    17          To the extent that you can answer             17          BY MS. MAINIGI:
    18   without disclosing attorney-client privileged        18      Q. Do you recall when those conferences
    19   communications, you may answer that question.        19   took place, meaning specific years?
    20          THE WITNESS: Again, there's --                20      A. No. But I'm sure that, if they
    21   there's at least two components besides --           21   haven't taken it down, it's on the DEA web
    22   besides counsel's office that could answer           22   site.
    23   questions related to suspicious order                23      Q. And you said there would be
    24   monitoring: liaison policy and regulatory            24   explanations of what constituted a suspicious
    25   investigations.                                      25   order at these conferences?

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                                                   Page 537                                                 Page 539
     1   of what actually got said in those meetings.          1   years --
     2           Fair?                                         2      A. Uh-huh.
     3      A. No. There were other people in                  3      Q. -- and then all of a sudden it
     4   those meetings. But I think consistently they         4   bumped up into the 20,000 range or the --
     5   were the ones who were in each -- each meeting.       5      A. Uh-huh.
     6      Q. Okay. And I think you told me that              6      Q. -- 50,000 range. And then it bumped
     7   you did not typically, in any interactions you        7   up to the 100,000 range.
     8   had with distributors or registrants, define          8          Do you recall that --
     9   yourself what "unusual size" meant, correct?          9      A. Yes.
    10      A. No. I -- I personally didn't have              10      Q. -- testimony?
    11   any contact with them discussing that. That          11          And you defined the jump all of a
    12   was done through the liaison and policy section      12   sudden from 5,000 to 20,000 as perhaps an order
    13   or the E-commerce section, the sections that         13   of unusual size, correct?
    14   handled requests or questions from the               14      A. Yes.
    15   industry.                                            15      Q. And that was a pretty
    16      Q. And I think you told me last time              16   straightforward example, in your mind, right?
    17   that there was not necessarily some sort of          17      A. Yes.
    18   internal set of talking points that allowed          18      Q. But you also acknowledged that there
    19   folks within DEA to further define the term          19   could be circumstances that were a bit less
    20   "unusual size," correct?                             20   straightforward, correct?
    21      A. Those questions went to E-commerce             21      A. I don't recall that. I said that in
    22   or liaison and policy. And they were the             22   some cases you -- it could be a crossover
    23   people who were running the meetings. So I --        23   between two of the three. So an unusual size
    24   I -- I think they just ran off exactly what          24   and an unusual frequency could cross over
    25   they were telling the distributors during the        25   together, so...
                                                   Page 538                                                 Page 540
     1   meetings.                                             1       Q. Well, you agree with me that, in
     2      Q. But there was no guidebook or                   2   some instances, it's harder to define what
     3   playbook that they could refer to that allowed        3   unusual size is, correct, and to determine
     4   them to specifically define "unusual size" a          4   whether unusual size has been met?
     5   certain way, right?                                   5       A. No. I don't -- if you know your
     6      A. I don't believe there was any                   6   customer, you should know what an unusual size
     7   guidebook. Yes. No.                                   7   is.
     8      Q. Did you ever think about putting one            8       Q. So it can vary from vary to customer
     9   together?                                             9   what an unusual size is.
    10      A. No. We thought it was pretty                   10          Fair?
    11   straightforward. An unusual size is just that.       11       A. Within reason.
    12   An unusual frequency or -- is just that.             12       Q. So let's -- let's take your 5,000
    13      Q. So when we met last time, you gave             13   example.
    14   me an example of unusual size.                       14       A. Uh-huh.
    15      A. Uh-huh.                                        15       Q. 5,000 Hydrocodone a month.
    16      Q. You gave me probably several                   16          Would an order the following month
    17   examples of unusual size.                            17   of 10,000 be suspicious?
    18          Do you remember that?                         18          MR. BENNETT: Objection. Incomplete
    19      A. Yes.                                           19   hypothetical.
    20      Q. And one of those examples, as I                20          THE WITNESS: I would say it should
    21   recall it, was a pharmacy that had been              21   trigger a -- questions. If you've gone from
    22   ordering 5,000 pills of Hydrocodone every            22   5,000 to 10,000, you've doubled your purchases.
    23   month --                                             23   I think that should trigger some questions,
    24      A. Uh-huh.                                        24   yes.
    25      Q. -- let's say for the last three                25          BY MS. MAINIGI:

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     1          BY MS. MAINIGI:                                1      Q. Now, the documentation, they
     2      Q. And then DEA would follow up and                2   certainly could have documentation at the time
     3   investigate that suspicious order, right?             3   they were investigating a potential suspicious
     4      A. DEA would investigate suspicious                4   order, correct?
     5   orders as they come in, yes.                          5      A. It would be in the customer files or
     6      Q. And if DEA found there to be                    6   due diligence files.
     7   validity to a suspicious order that was               7      Q. Is there any requirement in the DEA
     8   reported, DEA would take some sort of action,         8   regulations or guidance to maintain due
     9   correct?                                              9   diligence documentation for a certain period of
    10          MR. BENNETT: Objection. Incomplete            10   time?
    11   hypothetical. Objection. Scope.                      11      A. There's no requirements. But it's
    12          THE WITNESS: Again, it's very                 12   in the company's best interest to do it.
    13   fact-specific. You have to -- it's -- you            13   Because, if -- if you continue to send drugs
    14   know, a suspicious order doesn't necessarily         14   downstream and there's no explanation why you
    15   give us the -- doesn't necessarily give us what      15   do that and those orders are suspicious in
    16   we need to open an investigation, take a             16   nature, they're -- they're unusual -- unusual
    17   registration. That -- that requires                  17   size, frequency or substantially deviating, at
    18   investigation.                                       18   that point in time you've got to explain why
    19          What a suspicious order does is               19   you're doing it.
    20   provide us with a -- a starting point -- it's a      20           So if you don't have due diligence
    21   pointer system -- so we could start our              21   files, it becomes pretty -- the -- the
    22   investigation if that is indeed appropriate.         22   investigators are in the dark.
    23          So yes. Somewhere down the line               23      Q. So you -- you gave some good advice
    24   there would be some kind of potential order to       24   with your 2006, 2007 letters, right?
    25   show cause if -- if we find that their               25      A. I believe we did, yes.
                                                   Page 554                                                  Page 556
     1   orders -- their suspicious orders were leading        1      Q. Did you put into your letters that
     2   to or were involved in diversion, yes.                2   distributors ought to hold onto their due
     3          But I mean, again, it's a very                 3   diligence files for a certain period of time?
     4   fact-specific -- I need the details. I need to        4      A. I believe that due diligence files
     5   know exactly what that pharmacy was doing in          5   had come up in the -- in the meetings and we
     6   their ordering patterns.                              6   mentioned due diligence in all of those
     7          BY MS. MAINIGI:                                7   letters.
     8       Q. And is it fair to say that                     8          And obviously, when you mention due
     9   reasonable minds could vary on whether                9   diligence, you should have some kind of
    10   something's a suspicious order?                      10   documentation of your due diligence. But that
    11          MR. BENNETT: Objection. Form.                 11   was mentioned in the meetings.
    12          THE WITNESS: Again, I think that,             12      Q. Okay. So let's -- let's just talk
    13   because it's a suspicious order, and it's a          13   about with respect to the letters.
    14   decision that's made by the company, it              14          I -- you mentioned due diligence in
    15   involves further investigation by the company        15   the letters, right?
    16   before they send out a suspicious order or send      16      A. Yes.
    17   it.                                                  17      Q. But you didn't say in the letters
    18          But in either case, they should have          18   "Keep your due diligence for a certain period
    19   documentation showing what they have. So if --       19   of time" or anything like that, did you?
    20   if it was suspicious, and they sent it anyway,       20      A. It would -- it would be prudent and
    21   they should explain why. Did they resolve the        21   common sense to, knowing that, if their --
    22   suspicion. If not, then they should send us          22   their methodology was questioned on why they
    23   the suspicious order.                                23   were shipping drugs downstream without filing
    24          It's pretty straightforward.                  24   suspicious orders, that you would have some
    25          BY MS. MAINIGI:                               25   documentation showing why, showing that you

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     1          BY MS. MAINIGI:                                 1   confident that a jump from 5,000 to 20,000 all
     2      Q. Okay. So let me -- let's come back               2   of a sudden would be cause for reporting a
     3   to the numbers we were talking about.                  3   suspicious order, correct?
     4          So you -- you thought that an                   4      A. Again, just giving me numbers
     5   increase from 5,000 Hydrocodone a month to             5   without giving me the -- what is actually going
     6   10,000 Hydrocodone a month may be cause for at         6   on, what -- where the pharmacy is situated,
     7   least further due diligence, right?                    7   what the pharmacy is doing, who the pharmacist
     8      A. I believe yes. Absolutely.                       8   is -- there's just so many different variables
     9      Q. And it could wind up being a                     9   that is -- should it trigger a due diligence
    10   suspicious order that's reported, or there may        10   analysis? Absolutely. Should it trigger a --
    11   be reasons why it didn't need to be reported as       11   a -- a suspicious order? Maybe. Probably.
    12   a suspicious order, correct?                          12   Because going from 5- to 20,000, that's --
    13      A. If they --                                      13   that's quite a bit.
    14          MR. BENNETT: Objection.                        14           But until you do the whole analysis,
    15   Mischaracterizes testimony.                           15   until you look at the pharmacy, until you look
    16          THE WITNESS: If they resolve the               16   at what their patterns were, I can't make that
    17   suspicious -- the suspicions within the order,        17   statement.
    18   then they wouldn't have to notify DEA. But if         18      Q. What about a jump from 5,000 one
    19   they didn't resolve the suspicious nature of          19   month Hydrocodone to 8,000 the next month of
    20   the order, then they would.                           20   Hydrocodone?
    21          BY MS. MAINIGI:                                21      A. The -- the answer's --
    22      Q. So a jump from 5,000 to 10,000 after            22           MR. BENNETT: Objection. Incomplete
    23   some due diligence could, in fact, result in          23   hypothetical.
    24   there not being a suspicious order that needed        24           THE WITNESS: The answer is the
    25   to be reported, correct?                              25   same. I have to see the -- the whole idea
                                                    Page 550                                                  Page 552
     1          MR. UTTER: Object. He answered the              1   behind this is the distributor does their due
     2   question three times.                                  2   diligence. To do their due diligence, they
     3          Go ahead. You can answer again.                 3   have to look at all the variables surrounding
     4          THE WITNESS: No. Again, it's                    4   the particular order.
     5   hypothetical. I don't know. I don't know what          5           Without that, without knowing where
     6   -- I don't know what the presentation was. I           6   the pharmacy is, what the location is, I -- I
     7   don't know all the background or the particular        7   couldn't answer the question.
     8   pharmacy. I don't know what they've done in            8           BY MS. MAINIGI:
     9   the past. I don't know where they're situated.         9       Q. So just looking at the numbers,
    10   I don't know what drugs there are.                    10   let's say 10,000 -- excuse me.
    11          I mean there's so many different               11           Just looking at the numbers of 5,000
    12   variables. So no, I can't -- I can't answer           12   jumping to 8,000 would not be enough the
    13   that. A -- an increase from 5 to 10 should            13   trigger, in your mind, automatically a
    14   trigger due diligence. Maintaining effective          14   reporting of a suspicious order based on
    15   controls against diversion.                           15   unusual size.
    16          Looking at your customer, trying to            16           Fair?
    17   figure out what they are doing. Why did they          17           MR. BENNETT: Object -- objection.
    18   have this increase? What's -- why is it               18   Vague.
    19   necessary? What are they doing with the drugs         19           THE WITNESS: I think that that
    20   that they are sending to this -- this pharmacy        20   would trigger the company to do a due diligence
    21   or hospital, whatever.                                21   analysis. That's what it would trigger. And
    22          So no. I can't -- based on that                22   if they can't justify, if they can't explain or
    23   hypothetical, I can't answer that question.           23   resolve why that increase occurred, then, you
    24          BY MS. MAINIGI:                                24   know, they're required to report it as
    25      Q. What about -- but you were pretty               25   suspicious and not ship.

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